961 F.2d 964
    295 U.S.App.D.C. 210
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Leroy A. HANDY, Appellant.
    No. 91-3078.
    United States Court of Appeals, District of Columbia Circuit.
    April 27, 1992.
    
      1
      Before WALD, D.H. GINSBURG and SENTELLE, Circuit Judges
    
    ORDER
    PER CURIAM
    
      2
      Upon consideration of the motion pursuant to Anders v. California, the memorandum in support thereof and the response thereto, it is
    
    
      3
      ORDERED that the motion to withdraw as counsel be granted.   See McCoy v. Court of Appeals of Wisconsin, 486 U.S. 429, 441-44 (1988);   Anders v. California, 386 U.S. 738 (1967);   Suggs v. United States, 391 F.2d 971 (D.C.Cir.1968).   It is
    
    
      4
      FURTHER ORDERED, on the court's own motion, that this appeal be dismissed.   An independent review of the record indicates that there are no nonfrivolous issues for appeal.   See Suggs, 391 F.2d at 978.
    
    
      5
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 15.
    
    